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                          Exhibit 2
                Declaration of Sarah Grady
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            IN THE UNITED STATES DISTRICT COURT FOR THE
        SOUTHERN DISTRICT OF ILLINOIS, EAST ST. LOUIS DIVISION

   GERRY ARMBRUSTER,                              )
                                                  )
                       Plaintiff,                 )
                                                  )
                       v.                         )      Case No. 16 C 0544
                                                  )
   WEXFORD HEALTH SOURCES, INC.,                  )
   et al.,                                        )      Hon. Michael J. Reagan, C.J.
                                                  )
                       Defendants.                )      Hon. Mark A. Beatty, M.J.

                            DECLARATION OF SARAH GRADY

          I, Sarah Grady, declare under penalty of perjury that the following is true and
   correct:

         1.     I am the attorney for Plaintiff Gerry Armbruster.

          2.     As part of this case, I have consulted with Dr. Peter Brown, Plaintiff’s
   Federal Rule of Civil Procedure 26(a)(2)(B) retained expert. Dr. Brown is familiar
   with the relevant issues involved in this particular action, has practiced in the same
   area of healthcare and medicine that is at issue in this action for more than six years,
   and is qualified by his education, training, and experience to render opinions in the
   subject area of this case.

          3.    Dr. Brown has determined in a written report, which is attached
   hereto as Exhibit 2.A, that there is a reasonable and meritorious cause for the filing
   of a claim against Bharat Shah and Wexford Health Sources, Inc. under 735 ILCS
   5/2-622. Dr. Brown made this determination after a review of the relevant medical
   records of Gerry Armbruster and other relevant materials involved in this action.

         4.     I have reason to believe that Dr. Brown is knowledgeable about the
   appropriate standards of care in situations like that involved in the instant case.

          5.    Based on my consultation with Dr. Brown and after reviewing his
   written report, I conclude that there is a reasonable and meritorious cause for filing
   this action.




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          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
   foregoing is true and correct.

                                                 Respectfully submitted,


                                                 /s/ Sarah Grady
                                                 Sarah Grady
                                                 Attorney for Plaintiff


   Jon Loevy
   Sarah Grady
   Katie Roche
   Adair Crosley
   LOEVY & LOEVY
   311 North Aberdeen St., 3rd Floor
   Chicago, IL 60607
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   sarah@loevy.com




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                             CERTIFICATE OF SERVICE

          I, Sarah Grady, an attorney, certify that on January 31, 2019, I caused the
   foregoing Declaration of Sarah Grady to be filed using the Court’s CM/ECF system,
   which effected service on all counsel of record.


                                                /s/ Sarah Grady
                                                Sarah Grady
                                                Attorney for Plaintiff




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                        Exhibit 2.A
                 Report of Dr. Peter Brown
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          •   Deposition	of	Bharat	Shah	
      	
      	
                                   Expert	Witness	Qualifications	
      	
      	       I	am	currently	a	family	medicine	doctor	at	a	private	practice	in	Los	Altos,	
      California,	a	staff	physician	at	El	Camino	Hospital	in	Mountain	View,	California,	and	a	
      Senior	Federal	Aviation	Administration	Medical	Examiner.		
      	
              I	received	a	degree	in	biology	from	Stanford	University	in	1966	and	
      graduated	from	Northwestern	University	Medical	School	in	1970.	After	completing	
      my	internship	rotation	at	the	University	of	Connecticut	Hartford	Hospital	in	1971,	I	
      served	as	a	Lieutenant	in	the	Navy	Medical	Corps	from	1972-1974.	I	was	a	general	
      medical	officer	at	the	Guantanamo	Bay,	Cuba	Naval	Base	from	1972-1973	and	the	
      U.S.	Naval	Hospital	in	Annapolis,	Maryland	from	1973-1974.	While	stationed	in	
      Guantanamo	Bay	I	also	handled	the	fleet	sick	call.		
              	
              I’ve	been	at	my	current	private	family	practice	in	Los	Altos	since	1975	and	
      the	Senior	Medical	Examiner	for	the	Federal	Aviation	Administration	since	1978.	My	
      family	practice	provides	a	broad	spectrum	of	care	including	pediatrics,	geriatrics,	
      adult	medicine,	gynecology,	preventative	medicine,	minor	surgery,	surgery	
      assistance,	internal	medicine,	and	emergency	medicine.	My	extensive	surgical	
      assisting	includes	general	surgery,	neurosurgery,	GYN,	and	orthopedic	surgery.	I	
      also	have	ten	years	of	Emergency	Room	experience	and	eight	years	of	obstetrical	
      experience	in	addition	to	my	private	practice.		
              	
              I	have	been	a	staff	physician	at	El	Camino	Hospital	in	Mountain	View,	
      California	since	1975	and	was	a	staff	physician	at	Stanford	Hospital	in	Palo	Alto,	
      California	from	1976-1978.	During	my	time	at	El	Camino	Hospital,	I	served	as	the	
      Chief,	Vice	Chief,	and	Secretary	of	the	Department	of	Family	Practice	from	1987-88,	
      1986-87,	and	1985-86,	respectively,	and	was	a	consultant	regarding	Emergency	
      Room	coverage	issues	from	1991-1992.	I	also	served	as	the	Medical	Director	of	the	
      AC2	Medical	Clinic	from	July	2014-February	2018	and	as	a	consultant	to	One	Health	
      Plan	from	1999-2005.		I	was	board	certified	by	the	American	Board	of	Family	
      Practice	beginning	in	1977	and	the	National	Board	of	Physicians	and	Surgeons	since	
      September	2016.	I’m	also	a	member	of	the	American	Academy	of	Family	Practice,	
      Santa	Clara	County	Medical	Society,	and	the	California	Academy	of	Family	Practice.			
      	
      	
      	
                                                   	
                                                   	
                                                   	
                                                   	
                                                   	
                                                   	


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                                        Facts	and	Opinions	
                                                   	
                                      Spinal	Cord	Compression	
                                                   	
              The	spinal	cord	is	a	bundle	of	nerve	tissue	that	transmits	nerve	signals	from	
      the	brain	to	various	parts	of	the	body	and	transmits	neural	signals	back	to	the	brain,	
      and	coordinates	the	body’s	automatic	reflexes.	The	spinal	cord	extends	from	the	
      medulla	oblongata	(the	base	of	the	brain)	to	the	first	lumbar	vertebrae.	The	spinal	
      cord	is	extremely	sensitive	and	is	encased	by	the	spine:	a	series	of	24	presacral	
      vertebrae	(bony	structures)	with	cartilaginous	intervertebral	discs,	as	well	as	the	
      sacrum	(5	fused	vertebrae)	and	the	coccyx	(the	tailbone,	4	vertebrae).	
              	
              The	spine	is	divided	into	five	sections:	cervical,	thoracic,	lumbar,	sacrum,	and	
      coccyx.	The	medical	profession	has	given	names	to	each	vertebra.	The	first	7	
      vertebrae,	C1-C7,	are	found	in	the	cervical	spine.	The	next	12	vertebrae,	T1-T12,	are	
      found	in	the	thoracic	spine,	while	the	final	5	vertebrae,	L1-L5,	are	found	in	the	
      lumbar	spine.	C5	is	positioned	at	the	level	of	the	thyroid	cartilage	(the	Adam’s	
      apple).	C6	is	inferior	to	C5.	These	vertebrae	provide	the	neck	structural	support.	The	
      C6	nerve	root	exits	the	spinal	column	between	C5	and	C6	vertebrae,	and	innervates	
      arm,	elbow,	forearm,	wrist,	and	the	hand.	
              	
              Spinal	cord	compression	is	a	serious	medical	condition	that	occurs	when	
      pressure	is	put	directly	on	the	spinal	cord.	Patients	with	spinal	cord	compression	
      typically	experience	weakness,	numbness	or	tingling,	and	pain.	
              	
              The	onset	of	a	patient’s	symptoms	can	be	abrupt	or	gradual,	depending	on	
      the	mechanism	of	injury.	But	when	a	spinal	cord	is	compressed,	it	affects	the	cord’s	
      ability	to	transmit	impulses	from	the	brain	to	other	parts	of	the	body	and	transmit	
      neural	impulses	back	to	the	brain,	including	upper	and	lower	extremities.	When	the	
      spinal	cord	compression	is	severe,	it	causes	cord	change.	Cord	change	can	appear	
      and	increase	over	time	if	the	spinal	cord	is	not	decompressed.	
              	
              Magnetic	resonance	imaging	(MRI)	is	used	to	detect	spinal	cord	compression	
      and	to	determine	its	severity.	An	MRI	can	also	help	to	detect	other	neurological	
      issues.	Any	qualified	physician	would	know	that	when	a	patient	has	neurological	
      symptoms	consistent	with	a	herniated	disc	or	spinal	stenosis,	MRI	imaging	is	
      required	and	at	minimum,	a	referral	to	a	neurologist	or	neurosurgeon.	
              	
                   Gerry	Armbruster’s	Treatment	at	Southwestern	Illinois	Prison	
                                                   	
              Gerry	Armbruster	was	incarcerated	at	SWICC,	a	prison	in	Illinois.	I’ve	been	
      told	by	Mr.	Armbruster’s	attorneys	that	Wexford	Health	Sources,	Inc.,	a	medical	care	
      company	that	contracts	with	prisons	and	jails	nationwide,	hired	the	medical	staff	
      who	worked	at	the	prison	and	was	responsible	for	providing	medical	care	to	


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      inmates	at	SWICC,	including	referrals	to	specialists	outside	the	prison	for	tests	or	
      treatments.	
               	
               In	May	2014,	while	picking	up	trays	as	part	of	his	job	detail	in	the	prison,	Mr.	
      Armbruster	suddenly	began	experiencing	numbness,	tingling,	and	pain	in	his	right	
      arm,	hands,	and	fingers.	Armbruster	Deposition	p.	40,	P359.	Mr.	Armbruster	was	
      first	seen	for	this	issue	on	May	13,	2014,	when	Nurse	Loretta	Wilford	documented	
      his	complaints	of	pain,	tingling,	and	numbness,	and	referred	Mr.	Armbruster	to	see	
      Dr.	Bharat	Shah,	SWICC’s	medical	director.	
               	
               Before	working	at	SWICC,	Dr.	Shah	worked	as	a	general	surgeon.	He	
      described	his	role	at	SWICC	as	a	primary	care	doctor,	providing	first-line	
      evaluations	and	treatment,	and	referring	to	specialists	if	further	evaluation	or	
      treatment	is	required.	Shah	Deposition	p.	96.	
               	
               Dr.	Shah	saw	Mr.	Armbruster	on	5/14/14.	Dr.	Shah’s	medical	record	
      confirms	that	Mr.	Armbruster	reported	pain	and	tingling	in	his	arms,	with	numbness	
      at	his	fingertips	and	an	inability	to	grip	his	right	hand.	P360.	At	the	time	that	Mr.	
      Armbruster	saw	Dr.	Shah,	he	couldn’t	hold	a	pen	in	his	right	hand.	Armbruster	
      Deposition	p.	41.	Mr.	Armbruster	also	complained	of	pain	in	his	back	and	legs.	Dr.	
      Shah	observed	that	Mr.	Armbruster	had	gait	issues.	These	symptoms	with	his	
      cervical	symptoms	would	have	raised	a	flag	of	a	possible	spinal	cord	compression.	
      The	combination	of	upper	and	lower	extremity	symptoms	would	indicate	spinal	
      cord	compression	unless	proven	otherwise.	
               	
               Mr.	Armbruster’s	reports	of	tingling,	pain,	numbness,	and	gait	problems	were	
      clearly	neurological	symptoms,	and	Dr.	Shah	recognized	them	as	such.	Shah	
      Deposition	p.	34-35.	Neurological	symptoms	can	be	caused	by	spinal	cord	
      compression	or	herniated	disc.	A	physician	with	Dr.	Shah’s	training	and	experience	
      would	know	that	cervical	cord	compression	and	herniated	disc	would	be	important	
      diagnoses	to	exclude	as	part	of	a	differential	diagnosis.	
               	
               A	physician	with	Dr.	Shah’s	training	would	have	known	that	at	a	minimum,	a	
      focused	neurological	exam	was	required	to	address	the	potential	neurological	
      pathology	that	was	causing	the	symptoms.	Dr.	Shah’s	exam	was	woefully	
      insufficient.	Although	he	apparently	noted	that	Mr.	Armbruster’s	hand	grip	was	
      “full,”	a	phrase	that	is	not	typically	used	in	the	medical	community	to	reflect	the	
      outcome	of	a	test	regarding	grip	strength,	he	took	no	other	steps	to	determine	
      whether	any	of	Mr.	Armbruster’s	other	extremities	were	weak.	Testing	Mr.	
      Armbruster’s	range	of	motion	in	his	C	spine,	LS	spine,	and	his	joints	would	not	
      exclude	spinal	cord	compression	or	disc	herniation	as	a	cause	of	Mr.	Armbruster’s	
      symptoms.	
               	
               Dr.	Shah	did	note	that	there	were	no	gross	neurological	deficits	in	Mr.	
      Armbruster’s	arms	or	lumbosacral	spine.	This	wouldn’t	have	excluded	spinal	cord	
      compression	or	disc	herniation	as	a	cause	of	Mr.	Armbruster’s	symptoms.	In	fact,	


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      Mr.	Armbruster’s	symptoms	were	caused	by	spinal	cord	compression	from	a	
      posteriorly	protruding	disc,	something	that	required	MRI	imaging	to	diagnose.	
              	
              Dr.	Shah	also	apparently	performed	a	straight	leg	raise,	a	test	which	uses	
      passive	motion	to	determine	whether	a	patient’s	back	pain	is	caused	by	a	herniated	
      disc	in	the	lumbar	region.	Although	I	have	no	criticism	of	the	fact	that	Dr.	Shah	
      performed	this	test,	Mr.	Armbruster’s	report	of	tingling	in	his	arms	already	
      suggested	that	nerve	injury	in	the	lumbar	region	was	unlikely,	as	damage	to	a	nerve	
      affects	only	those	parts	of	the	body	which	are	level	or	below	the	site	of	the	nerve	
      damage.	In	any	event,	the	fact	that	the	test	was	negative	did	not	rule	out	spinal	cord	
      compression	or	disc	herniation	as	a	cause	of	Mr.	Armbruster’s	symptoms.	And	lower	
      extremity	symptoms	suggest	proximal	cord	compression.	The	presence	or	absence	
      of	vertebral	muscle	spasms	provides	no	information	about	whether	Mr.	Armbruster	
      was	suffering	from	spinal	cord	compression.	And	Mr.	Armbruster’s	lower	extremity	
      symptoms	do	suggest	cord	compression.	
              	
              Given	Mr.	Armbruster’s	report	of	symptoms,	as	well	as	the	report	that	the	
      onset	of	the	symptoms	occurred	abruptly	as	Mr.	Armbruster	was	bending	down	to	
      retrieve	some	trays,	it	is	my	opinion	that	on	5/14/14,	Mr.	Armbruster	was	likely	
      suffering	from	spinal	cord	compression.	In	any	event,	any	minimally	competent	
      physician	exercising	medical	judgment	would	have	referred	Mr.	Armbruster	to	a	
      neurologist/neurosurgeon,	obtained	an	MRI,	or	referred	to	the	emergency	room	for	
      a	neurological	work	up.	
              	
              Instead,	Dr.	Shah	prescribed	back	exercises	and	Ibuprofen,	and	ordered	
      nursing	staff	to	monitor	Mr.	Armbruster’s	blood	pressure.	Although	I	have	no	
      complaints	about	the	decision	to	monitor	Mr.	Armbruster’s	blood	pressure	since	the	
      blood	pressure	measured	during	his	visit	with	Dr.	Shah	was	slightly	hypertensive,	
      that	action	did	not	address	Mr.	Armbruster’s	symptoms	in	any	way.	
              	
              Dr.	Shah	documented	in	his	medical	record	that	there	was	no	evidence	of	
      neurological	deficit.	But	that	statement	is	directly	contradicted	by	the	note’s	
      documentation	of	Mr.	Armbruster’s	complaints	of	pain,	tingling,	numbness,	and	
      right	hand	weakness	in	his	right	arm.	These	symptoms	are	evidence	of	a	
      neurological	deficit	and	addressing	those	complaints	was	required	in	order	to	
      ensure	that	Mr.	Armbruster	received	basically	adequate	care.	He	did	not.	In	fact,	Dr.	
      Shah	admitted	that	he	did	not	determine	the	cause	of	Mr.	Armbruster’s	tingling	and	
      numbness,	but	took	no	further	action,	including	a	neurological	or	radiological	
      consultation,	to	address	it.	Shah	Deposition	p.	236.	
              	
              Between	5/14-5/21/14,	Mr.	Armbruster’s	blood	pressure	was	checked	twice	
      daily.	During	this	time,	he	complained	daily	to	medical	staff	that	his	tingling,	
      numbness,	and	weakness	was	persistent.	Armbruster	Deposition	p.	54,	P363-365.	
      Despite	these	reports,	the	only	nurse	that	documented	Mr.	Armbruster’s	complaints	
      was	Nurse	Phyllis	Maston.	This	is	inappropriate.	It	is	a	nurse’s	responsibility	to	
      document	all	medical	complaints,	especially	in	a	situation	like	this	one	where	


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      persistent	neurological	symptoms	indicate	the	obvious	need	for	a	neurological	
      consultation	for	Mr.	Armbruster.	
              	
              Dr.	Shah	did	review	the	nursing	notes,	including	Nurse	Maston’s	5/20	note	
      that	Mr.	Armbruster	complained	that	the	fingers	on	his	hand	were	numb,	that	his	
      right	side	tingled	down	to	his	waist,	that	he	had	little	grip	in	his	hand,	and	that	he	
      could	barely	walk.	Shah	Deposition	p.	257,	P365.	Dr.	Shah	also	reviewed	Nurse	
      Maston’s	subsequent	5/20	note	where	she	documented	her	own	observation	that	
      Mr.	Armbruster’s	gait	was	altered.	And	he	saw	her	5/28	note	that	Mr.	Armbruster	
      continued	to	complain	of	difficulty	walking,	taking	a	shower,	or	putting	on	clothing,	
      an	inability	to	pick	up	his	daughter	due	to	pain,	numbness	and	tingling	in	his	fingers,	
      with	no	grip	in	his	right	hand,	and	that	she	personally	observed	that	it	took	Mr.	
      Armbruster	5	minutes	to	print	and	sign	his	name.	P364-367.	That	information	
      would	have	led	any	minimally	competent	physician	with	Dr.	Shah’s	training	and	
      background	to	know	that	a	prompt	referral	to	a	neurologist/neurosurgeon,	
      obtained	an	MRI,	or	referral	to	the	emergency	department	was	required	in	order	to	
      address	the	persistent	neurological	symptoms.	
              	
              The	reason	that	a	prompt	referral	to	a	neurologist	was	required	is	because	of	
      the	severe	risk	of	harm	faced	by	patients	reporting	the	symptoms	that	Mr.	
      Armbruster	reported	during	this	time.	Those	risks	include	paralysis	and	persistent	
      impaired	neural	functioning.	These	risks	are	well	known	to	surgeons	or	primary	
      care	practitioners	like	Dr.	Shah.	
              	
              When	Dr.	Shah	next	saw	Mr.	Armbruster	on	5/28/14,	less	than	one	hour	
      after	Nurse	Maston	reported	seeing	Mr.	Armbruster	experience	severe	difficulty	
      writing	and	signing	his	name,	it	was	in	the	context	of	a	“hypertension	clinic.”	Of	
      course,	regardless	of	the	reason	of	the	encounter,	all	minimally	competent	
      physicians	know	that	neurological	symptoms	like	those	Mr.	Armbruster	continued	
      to	report	to	medical	staff—a	number	of	which	were	documented	in	the	medical	
      records—require	attention.		Dr.	Shah	did	not	address	Mr.	Armbruster’s	neurological	
      symptoms.	The	only	portion	of	Dr.	Shah’s	5/28	medical	record	that	has	any	bearing	
      on	Mr.	Armbruster’s	neurological	symptoms	is	his	entry	that	a	neurologic	exam	was	
      nonfocal.	P369.	
              	
              A	complete	neurological	exam	would	include	assessment	of	the	following:	
      orientation	to	person,	place,	and	time,	examination	of	cranial	nerves,	sensory	exam	
      to	light	touch	and	pinprick,	checking	deep	tendon	reflexes	in	both	upper	and	lower	
      extremities,	and	examination	for	muscle	strength	and	coordination.	There	is	no	
      indication	in	the	medical	record	that	Dr.	Shah	performed	any	of	these	assessments.	
      P368-369.	In	fact,	Dr.	Shah	said	at	his	deposition	that	he	would	not	typically	perform	
      a	detailed	neurological	exam	as	part	of	a	hypertension	exam,	but	Mr.	Armbruster’s	
      complaints	of	his	persistent	neurological	symptoms	mandated	an	exam.	Shah	
      Deposition	p.	252.	
              	



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              In	fact,	the	medical	record	has	no	explanation	at	all	of	what,	if	anything,	Dr.	
      Shah	did	as	part	of	a	neurological	exam	on	May	28,	and	Dr.	Shah	has	said	that	he	
      cannot	remember	seeing	Mr.	Armbruster	on	that	day.	This	itself	falls	well	outside	of	
      the	generally	accepted	standards	of	medical	practice.	All	minimally	competent	
      physicians	are	trained	on	the	importance	of	documentation,	including	
      documentation	of	both	normal	and	abnormal	findings,	and	the	physician’s	
      differential	diagnosis.	The	reason	that	adequate	documentation	is	critical	to	
      ensuring	that	a	patient	receives	adequate	medical	care	is	because	it	allows	the	
      physician	to	reflect	on	his	thinking	during	an	earlier	encounter	with	the	patient	and	
      provide	continuity	of	care,	and	allows	another	physician	who	sees	the	patient	to	
      know	what	has	occurred	earlier	in	time.	It	is	common	for	a	full-time	physician	like	
      Dr.	Shah	not	to	recall	every	detail	of	a	prior	encounter,	given	the	volume	of	patients	
      most	physicians	see	in	any	given	day.	Because	of	that,	thorough	documentation	is	
      critical.	In	the	medical	world,	there	is	a	well-accepted	saying:	“if	you	didn’t	
      document	it,	it	didn’t	happen.”	Without	an	explanation	of	what	neurological	exam	
      Dr.	Shah	performed	and	what	findings	he	reached	as	a	result,	his	note	that	a	
      neurologic	exam	was	“nonfocal”	has	no	real	meaning.	
              	
              Additionally,	it	is	not	clear	what	Dr.	Shah	means	by	“nonfocal.”	Describing	the	
      results	of	a	neurological	exam	as	“nonfocal,”	is	not	language	used	by	primary	care	
      practitioners	or,	to	my	knowledge,	any	other	member	of	the	medical	profession.	It	is	
      not	used	to	describe	a	normal	neurological	exam.	Notably	Dr.	Shah	used	the	phrase	
      “within	normal	limits”	(WNL)	to	describe	the	results	of	the	funduscopic	exam	but	
      not	the	neurological	exam.	P369.	As	all	primary	care	physicians	with	the	experience	
      and	training	of	Dr.	Shah	know,	significant	neurological	signs	and	symptoms	like	
      those	that	Mr.	Armbruster	had	required	a	full	neurological	exam,	a	referral	to	
      neurology	or	neurosurgery,	the	ordering	of	an	MRI,	or	referral	to	the	emergency	
      room.	
              	
              Dr.	Shah	did	not	refer	Mr.	Armbruster	to	a	neurologist.	He	did	not	refer	him	
      to	a	radiologist.	He	did	not	even	address	Mr.	Armbruster’s	complaints,	documented	
      by	Nurse	Maston	less	than	one	hour	earlier,	that	his	neurological	symptoms	have	
      gotten	worse	and	he	can	barely	walk,	take	a	shower,	or	get	dressed.	The	only	
      treatment	Dr.	Shah	provided	was	medication	to	address	Mr.	Armbruster’s	high	
      blood	pressure,	prescribing	him	HCTZ	(a	diuretic)	and	Lisinopril	(a	blood	pressure	
      medication),	and	to	continue	his	Ibuprofen	prescription.	P368.	None	of	these	
      medications	would	have	addressed	Mr.	Armbruster’s	spinal	cord	compression	or	
      the	neurological	symptoms	that	he	was	feeling	as	a	result.	
              	
              Dr.	Shah	also	ordered	a	CBC,	CMP,	and	an	EKG	as	a	routine	part	of	Mr.	
      Armbruster’s	hypertension	care.	These	tests	were	fine	for	his	hypertensive	care	but	
      had	nothing	at	all	to	do	with	his	neurological	complaints	and	would	have	no	
      significance	in	the	work	up	of	his	neurological	symptoms.	
              	
              On	6/3/14,	Dr.	Shah	saw	Mr.	Armbruster	for	a	follow-up	appointment	to	
      review	his	lab	results.		At	that	encounter,	Mr.	Armbruster	told	Dr.	Shah	that	the	


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      Ibuprofen	wasn’t	helping	his	symptoms.	Shah	Deposition	p.	239.	Dr.	Shah	again	
      notes	without	explanation	that	Mr.	Armbruster’s	neurological	system	was	
      “nonfocal,”	which	is	inappropriate	for	the	reasons	identified	above.	P371.	Dr.	Shah	
      ordered	a	hemoglobin	A1C	test	for	Mr.	Armbruster	in	response	to	an	earlier	high	
      blood	sugar	level	reading.	He	also	switched	Mr.	Armbruster’s	Ibuprofen	prescription	
      to	Naprosyn.	
              	
              Again	on	6/3,	Dr.	Shah	failed	to	address	Mr.	Armbruster’s	continued	
      neurological	symptoms	in	any	way.	He	did	not	refer	Mr.	Armbruster	to	a	
      neurologist/neurosurgeon,	obtain	an	MRI,	or	refer	him	to	the	emergency	room.	He	
      made	no	assessment	of	Mr.	Armbruster’s	weakness.	Dr.	Shah	still	had	not	
      determined	what	was	causing	the	symptoms,	and	yet	his	treatment	provided	
      absolutely	no	response	to	these	persistent	symptoms.	Dr.	Shah’s	actions	toward	Mr.	
      Armbruster	were	woefully	insufficient	and	certainly	a	substantial	departure	from	
      the	accepted	standard	of	care	for	patients	reporting	neurological	symptoms	
      consistent	with	spinal	cord	compression.	
              	
              On	6/17/14,	when	Mr.	Armbruster	returned	to	the	clinic	for	a	follow-up	
      appointment	to	review	his	hemoglobin	A1C	test,	he	complained	to	Dr.	Shah	that	he	
      was	not	getting	help	and	requested	a	referral	to	a	hospital	for	further	treatment.	Dr.	
      Shah	refused	his	request.	Dr.	Shah	documented	that	Mr.	Armbruster	continued	to	
      complain	of	numbness,	tingling,	and	pain.	Dr.	Shah	referred	to	Mr.	Armbruster’s	
      complaints	as	vague,	but	he	also	documented	specifically	that	Mr.	Armbruster	
      complained	of	weakness	in	his	legs.	P372.	Dr.	Shah	did	not	evaluate	the	level	of	Mr.	
      Armbruster’s	weakness,	do	a	neurological	exam,	or	take	any	other	steps	to	address	
      it.	Specifically,	he	did	not	refer	him	to	a	neurologist	or	neurosurgeon,	or	request	an	
      MRI	to	rule	in	or	rule	out	spinal	cord	compression,	or	refer	him	to	the	emergency	
      room	for	treatment	and	evaluation	of	possible	spinal	cord	compression.	
              	
              Dr.	Shah	did	order	an	X-ray	for	Mr.	Armbruster’s	knees,	which	he	
      acknowledged	would	provide	no	information	about	weakness,	tingling,	or	
      numbness.	Shah	Deposition	p.261-262.		In	sum,	Dr.	Shah	took	absolutely	no	steps	to	
      address	Mr.	Armbruster’s	neurological	symptoms.	
              	
              On	6/23/14,	Dr.	Shah	reviewed	Mr.	Armbruster’s	X-ray	report	and	noted	the	
      findings.	Mr.	Armbruster	reported	feeling	better	on	that	day,	although	he	did	
      continue	to	complain	of	numbness	in	his	fingers.	P375.	Mr.	Armbruster	explained	
      that	although	his	symptoms	generally	grew	worse	over	the	months	that	he	was	at	
      SWICC	and	never	fully	resolved,	they	would	be	more	or	less	tolerable	depending	on	
      the	day.	Armbruster	Deposition	p.	81.	In	response	to	Mr.	Armbruster’s	continued	
      neurological	complaints	and	symptoms,	Dr.	Shah	took	no	steps	to	evaluate	or	
      address	that	complaint.	He	did	not	refer	Mr.	Armbruster	to	a	neurologist	or	
      neurosurgeon,	did	not	ask	for	an	MRI	to	address	Mr.	Armbruster’s	neurological	
      symptoms,	or	send	him	to	the	emergency	room	for	a	neurological	work	up.	In	fact,	
      he	did	nothing	at	all	to	diagnose	his	serious	neurological	complaints.	
              	


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              Mr.	Armbruster	returned	to	the	health	care	unit	on	7/2/14	for	another	
      follow-up	visit	to	discuss	his	knee	X-rays.		P376.	Mr.	Armbruster	continued	to	
      complain	of	numbness	and	pain.	Dr.	Shah	notes	that	there	is	no	gross	neurological	
      disease	in	Mr.	Armbruster’s	hands	and	fingers.	This	is	an	observation	that	one	could	
      expect	with	the	spinal	cord	compression	that	Mr.	Armbruster	had.	Any	primary	care	
      physician	exercising	medical	judgment,	having	found	no	explanation	for	these	
      persistent	and	potentially	serious	neurological	symptoms,	would	have	consulted	
      with	a	neurologist	or	neurosurgeon,	requested	an	MRI,	or	referred	to	the	emergency	
      room	for	a	full	neurological	work	up.		
              	
              Dr.	Shah	took	no	further	steps	to	assess	Mr.	Armbruster’s	serious	bilateral	
      upper	and	lower	extremity	complaints.	Yet	he	told	Mr.	Armbruster	that	he	had	no	
      neurological	deficits.	This	is	extremely	concerning,	given	that	the	only	action	taken	
      by	Dr.	Shah	to	assess	Mr.	Armbruster’s	neurological	complaints	was	to	observe	him	
      grossly.	No	competent	physician	makes	a	final	determination	that	a	patient	has	no	
      neurological	deficits	based	solely	on	visual	inspection.	Despite	persistent	
      neurological	symptoms	over	the	course	of	several	months,	Dr.	Shah	never	
      performed	a	complete	neurological	exam	or	referred	Mr.	Armbruster	for	a	full	
      neurological	work	up.	Dr.	Shah	explained	that	he	meant	that	he	had	found	no	
      neurological	deficits,	but	Mr.	Armbruster’s	complaints	of	bilateral	upper	and	lower	
      extremity	symptoms	demonstrated	neurological	deficits,	and	Dr.	Shah	took	no	
      action	to	address	them.	Shah	Deposition	p.	271-272.	
              	
              Dr.	Shah	said	that	he	suspected	that	Mr.	Armbruster	had	neuropathy	or	
      arthritis	on	6/25/14,	diagnoses	he	did	not	document	anywhere	in	his	medical	
      record.	While	Mr.	Armbruster	may	have	had	arthritis,	a	differential	diagnosis	would	
      also	include	herniated	disc	and	spinal	cord	compression.	MRI	imaging	would	have	
      indicated	which	of	these	was	causing	Mr.	Armbruster’s	neurological	symptoms.	Dr.	
      Shah	offered	no	explanation	for	why	he	did	not	refer	Mr.	Armbruster	to	a	
      neurologist	or	neurosurgeon,	request	MRI	imaging,	or	refer	him	to	a	emergency	
      room	for	evaluation	or	treatment	even	after	admitting	that	he	suspected	a	
      neurological	disorder	as	the	likely	cause	of	Mr.	Armbruster’s	symptoms.	In	fact,	Dr.	
      Shah	provided	no	treatment	or	follow-up	care	at	all.	This	response—doing	nothing	
      in	the	face	of	continued	and	persistent	serious	neurological	symptoms	and	signs—
      shows	a	blatant	disregard	for	patient	well-being.	
              	
              Mr.	Armbruster	received	no	additional	attention	for	his	neurological	
      symptoms,	which	he	continued	to	experience	throughout	the	following	months	of	
      his	incarceration	at	SWICC.	He	was	never	referred	to	a	neurologist/neurosurgeon,	
      taken	for	an	MRI,	or	referred	to	the	emergency	department	to	determine	whether	
      spinal	cord	compression	was	present.		Mr.	Armbruster	was	released	from	SWICC	on	
      9/15/14	and	after	receiving	his	insurance	card	went	to	the	emergency	department	
      at	Gateway	Regional	Medical	Center	on	9/26/14.	He	voiced	to	medical	staff	at	
      Gateway	the	same	complaints	that	he	had	voiced	to	Dr.	Shah	over	the	course	of	
      several	months.	Dr.	Arendell,	the	emergency	room	physician,	ordered	a	number	of	
      imaging	tests,	including	an	MRI	of	Mr.	Armbruster’s	cervical	spine	without	contrast.	


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      That	MRI	showed	that	Mr.	Armbruster	had	severe	spinal	cord	compression	caused	
      by	a	posteriorly	protruding	disc	at	the	C5-C6	space.	The	cervical	canal	was	
      narrowed	to	5	mm,	putting	severe	pressure	on	the	spinal	cord	and	causing	severe	
      cord	change.	
              	
              After	Mr.	Armbruster’s	MRI	images	were	reviewed,	Mr.	Armbruster	was	
      diagnosed	with	severe	myelopathy	C5-C6	and	referred	to	Dr.	Gregory	Bailey,	a	
      neurosurgeon	with	St.	Mary’s	Hospital	for	emergency	surgery	that	same	day.	On	
      9/26/14,	Dr.	Bailey	performed	surgery	on	Mr.	Armbruster	to	decompress	the	spinal	
      cord,	and	replaced	the	herniated	disc	with	a	bone	graft.	
              	
              Had	Mr.	Armbruster	received	an	MRI	of	his	cervical	spine	when	he	first	
      began	complaining	of	neurological	symptoms,	or	at	least	been	referred	to	a	
      neurologist	or	neurosurgeon	for	evaluation,	it	is	my	opinion	that	he	would	have	
      received	the	surgery	performed	on	9/26/14	months	earlier.	Dr.	Shah’s	failure	to	
      refer	Mr.	Armbruster	for	evaluation	and	treatment	by	a	neurologist	or	
      neurosurgeon,	to	order	MRI	imaging	for	him,	or	to	refer	him	to	the	emergency	
      department	fell	substantially	outside	of	the	generally	accepted	standard	of	care	for	
      primary	care	physicians.	Primary	care	physicians	with	the	level	of	training	and	
      expertise	of	Dr.	Shah	know	that	if	they	cannot	fully	work	up	persistent	neurological	
      symptoms,	including	weakness,	numbness,	and	tingling	in	the	upper	extremities	
      with	lower	extremity	symptoms	as	well,	a	referral	for	evaluation	by	neurology	or	
      neurosurgery,	a	request	for	an	MRI,	or	a	referral	to	the	emergency	room	is	required.		
              	
              Dr.	Shah’s	refusal	to	refer	Mr.	Armbruster	to	neurology,	neurosurgery,	or	the	
      emergency	room,	or	request	an	MRI	caused	a	substantial	delay	of	several	months	in	
      Mr.	Armbruster’s	treatment.	Delay	in	diagnosis	and	treatment	of	a	spinal	cord	
      compression	may	lead	to	persistent	neurological	deficits,	even	after	surgery	is	
      finally	performed,	like	it	did	in	Mr.	Armbruster’s	case.	Mr.	Armbruster	said	at	his	
      deposition	that	he	continues	to	suffer	numbness,	tingling,	weakness,	and	pain	in	his	
      arms	and	legs.	Had	Dr.	Shah	acted	appropriately	and	exercised	appropriate	medical	
      judgment,	it	is	my	opinion	that	Mr.	Armbruster’s	outcome	would	likely	have	been	
      better	than	it	is	now.	Although	the	surgery	prevented	progression	of	signs	and	
      symptoms	it	did	not	result	in	complete	recovery.	Mr.	Armbruster	currently	has	
      persistent	neurological	signs	and	symptoms	that	cause	persistent	disability.	
              	
              	
              	




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